Case 2:24-cv-00691-DCJ-TPL Document 69 Filed 08/13/24 Page 1 of 6 PageID #: 1099




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                          LAKE CHARLES DIVISION

 THE STATE OF LOUISIANA,                         CIVIL DOCKET NO. 2:24-cv-00629
 ET AL

 VERSUS                                          JUDGE DAVID C. JOSEPH

 EQUAL EMPLOYMENT                                MAGISTRATE JUDGE THOMAS P.
 OPPORTUNITY COMMISSION                          LEBLANC


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 UNITED STATES CONFERENCE OF                     CIVIL DOCKET NO. 2:24-cv-00691
 CATHOLIC BISHOPS, ET AL

 VERSUS                                          JUDGE DAVID C. JOSEPH

 EQUAL EMPLOYMENT                                MAGISTRATE JUDGE THOMAS P.
 OPPORTUNITY COMMISSION,                         LEBLANC
 ET AL


                                  RULING AND ORDER

        Before the Court are two consolidated RULE 59 MOTIONS TO ALTER OR AMEND

 JUDGMENT: (i) Motion filed by defendant Equal Employment Opportunity

 Commission (“EEOC”) in the matter entitled State of Louisiana, et al, v. EEOC, 2:24-

 cv-00629-DCJ-TPL (the “States lawsuit”) [Doc. 55]; 1 and (ii) Motion filed by EEOC

 and co-defendant Charlotte Burrows, Chair of the EEOC, in USCCB, et al v. EEOC,

 et al, 2:24-cv-00691-DCJ-TPL (the “Bishops lawsuit”) [Doc. 62] (collectively, the




 1
        The Plaintiff entities in the States lawsuit are the States of Louisiana and Mississippi.
 The sole defendant is the EEOC.


                                          Page 1 of 6
Case 2:24-cv-00691-DCJ-TPL Document 69 Filed 08/13/24 Page 2 of 6 PageID #: 1100




 “Motions”). 2 In the identical Motions, Defendants ask this Court to vacate its June

 17, 2024, Preliminary Injunction Order (the “Injunction”), wherein the Court

 postponed the effective date of the Final Rule, which implements and interprets the

 Pregnant Workers Fairness Act (“PWFA” or “Act”), 42 U.S.C. § 2000gg, et seq., and

 Title VII, 42 U.S.C. § 2000e, et seq., and which requires that covered entities provide

 accommodation for the elective abortions of employees that are not necessary to treat

 a medical condition related to pregnancy. [States, Doc. 47; Bishops, Doc. 53]. 3 EEOC

 argues that the Supreme Court’s recent decision in Murthy v. Missouri, 144 S. Ct.

 1972 (2024) is an intervening change in law that requires reconsideration of the

 Injunction. Plaintiffs in both cases oppose the Motions [States, Doc. 60; Bishops, Doc.

 67], and Defendants filed Reply briefs [States, Doc. 61; Bishops, Doc. 68]. For the

 following reasons, Defendants’ Motions are DENIED.

                                  LAW AND ANALYSIS

        Rule 59(e) permits courts to “alter or amend a judgment” only “for the narrow

 purpose of correcting manifest errors of law or fact or presenting newly discovered



 2
         The Plaintiff entities in the Bishops lawsuit are the United States Conference of
 Catholic Bishops (“USCCB”), Society of the Roman Catholic Church of the Diocese of Lake
 Charles (“Diocese of Lake Charles”), Society of the Roman Catholic Church of the Diocese of
 Lafayette (“Diocese of Lafayette”), and Catholic University of America (“Catholic University”)
 (collectively, the “Bishops Plaintiffs”). The defendants in the Bishops lawsuit are EEOC and
 Charlotte Burrows, Chair of the EEOC, sued in her official capacity only.
 3
        Specifically, the EEOC was preliminarily enjoined from: (i) initiating any
 investigation into claims that a covered employer has failed to accommodate an elective
 abortion that is not necessary to treat a medical condition related to pregnancy; and (ii)
 issuing any Notice of Right to Sue with respect to the same. [States, Doc., 47; Bishops, Doc.
 53]. The injunction applies to: (i) the States of Louisiana and Mississippi and any agency
 thereof; (ii) any covered entity under the Final Rule with respect to all employees whose
 primary duty station is located in Louisiana or Mississippi; and (iii) the Bishops Plaintiffs.
 Id.

                                         Page 2 of 6
Case 2:24-cv-00691-DCJ-TPL Document 69 Filed 08/13/24 Page 3 of 6 PageID #: 1101




 evidence.” Def. Distributed v. United States Dep’t of State, 947 F.3d 870, 873 (5th Cir.

 2020). “Reconsideration of a judgment after its entry is an extraordinary remedy that

 should be used sparingly,” and district courts have “considerable discretion in

 deciding whether to reopen a case under Rule 59(e).” Def. Distributed, 947 F.3d at

 873, citing Edward H. Bohlin Co. v. The Banning Co., 6 F.3d 350, 355 (5th Cir. 1993)

 and Templet v. HydroChem Inc., 367 F.3d 473, 479 (5th Cir. 2004). The Fifth Circuit

 has emphasized that a Rule 59(e) motion “is not the proper vehicle for rehashing

 evidence, legal theories, or arguments that could have been offered or raised before

 the entry of judgment.” Templet, 367 F.3d at 479. A mere “second attempt to argue

 the same points” raised previously “is improper.” Anderson v. Martin, 2020 WL

 868025, at *2 (W.D. La. Feb. 20, 2020), aff’d, 852 F. App’x 858 (5th Cir. 2021).

          In their Motions, EEOC argues that Murthy “highlights” that when a plaintiff’s

 injury depends on actions of third parties not before the Court, standing cannot be

 established based on “guesswork” about how those third parties will behave. 4 The

 EEOC further contends that, under Murthy, private individuals are not bound by any

 relief entered by this Court, and thus, the Court’s June 17, 2024, Injunction Order

 does not redress Plaintiffs’ claimed injuries. Finally, EEOC argues that even if this



 4
     Specifically, the Murthy Court explained:

          In keeping with th[e principle of redressability], we have ‘been reluctant to
          endorse standing theories that require guesswork as to how independent
          decisionmakers will exercise their judgment.’ Clapper, 568 U.S. at 413, 133 S.
          Ct. 1138. Rather than guesswork, the plaintiffs must show that the third-party
          platforms ‘will likely react in predictable ways’ to the defendants’ conduct.

 144 S. Ct. at 1972, citing Dep’t of Commerce v. New York, 588 U.S. 752, 768, 139 S. Ct. 2551,
 204 L.Ed.2d 978 (2019).

                                           Page 3 of 6
Case 2:24-cv-00691-DCJ-TPL Document 69 Filed 08/13/24 Page 4 of 6 PageID #: 1102




 Court believes its preliminary injunction remains proper, Murthy confirms that relief

 should be narrowly tailored only to the named parties.

        In its Injunction, the Court found that the States Plaintiffs have standing

 because of increased regulatory burdens, increased compliance costs under penalty of

 enforcement actions, and damage to their sovereignty and free speech rights, while

 the Bishops Plaintiffs have standing because their deeply held religious beliefs will

 not permit them to comply with the abortion accommodation mandate and they are

 at risk of being prosecuted by the EEOC under the Final Rule. The Court also found

 that the EEOC has exceeded its statutory authority to implement the PWFA and, in

 doing so, both unlawfully expropriated the authority of Congress and encroached

 upon the sovereignty of the States Plaintiffs.

        None of these findings warrant alteration in consideration of Murthy. EEOC

 argues the Murthy Court found non-cognizable alleged harms that are contingent on

 “the independent action[s] of some third party not before the court,” Murthy, 144 S.

 Ct. at 1986, quoting Clapper v. Amnesty Int’l USA, 568 U.S. 398, 413 (2013), and

 contends that enforcement of the Final Rule is too speculative in the instant cases.

 But Murthy does not change the law in this respect, and the Court considered and

 rejected this same argument under the binding precedent of Braidwood Mgmt., Inc.

 v. Equal Emp. Opportunity Comm’n, 70 F.4th 914 (5th Cir. 2023), specifically finding

 that forcing the Bishops Plaintiffs to address their religious exceptions on a case-by-

 case basis presents, at a minimum, a substantial likelihood of added regulatory

 burden and compliance costs. [States, Doc. 47, pp. 14-15; Bishops, Doc. 53, pp. 14-

 15].

                                       Page 4 of 6
Case 2:24-cv-00691-DCJ-TPL Document 69 Filed 08/13/24 Page 5 of 6 PageID #: 1103




        Finally, the EEOC rehashes its argument that the States Plaintiffs “cannot

 manufacture standing” by claiming “unproven” costs associated with compliance

 under the Final Rule. The Court likewise specifically rejected this argument, finding

 that the Final Rule itself notes such costs arise independently from any

 accommodation expenses. 89 Fed. Reg. 29,177 (“Administrative costs, which include

 rule familiarization, posting new EEO posters, and updating EEO policies and

 handbooks, represent additional, one-time direct costs to covered entities.”). 5

        Thus, after careful review of the Court’s Injunction and the Murthy decision,

 the Court concludes that Murthy does not overrule or substantively alter any

 precedent or standing principle upon which this Court relied in issuing its Injunction.

 Murthy is therefore not a valid basis for this Court to alter or amend its June 17,

 2024, Injunction Order.

        Finally, considering that the Court applied its preliminary injunction only

 against the EEOC and only with respect to the party Plaintiffs and covered employers

 within the states of Louisiana and Mississippi, the Court maintains that scope of the

 relief awarded in the Injunction is appropriate at this stage of the litigation.




 5
         Specifically, the Court noted that for Article III standing purposes, such compliance
 costs are classic “pocketbook injury” redressable through a pre-enforcement APA rule
 challenge. See, e.g., Collins v. Yellen, 141 S. Ct. 1761, 1779 (2021); Wages & White Lion
 Investments, LLC v. United States Food and Drug Administration, 16 F.4th 1130, 1142 (5th
 Cir. 2021) (holding that regulatory compliance costs are unrecoverable and therefore amount
 to irreparable harm “because federal agencies generally enjoy sovereign immunity for any
 monetary damages”).

                                         Page 5 of 6
Case 2:24-cv-00691-DCJ-TPL Document 69 Filed 08/13/24 Page 6 of 6 PageID #: 1104




       Considering the foregoing,

       IT IS HEREBY ORDERED that the RULE 59 MOTION TO ALTER OR AMEND

 JUDGMENT filed in State of Louisiana, et al, v. EEOC, 2:24-cv-00629-DCJ-TPL [Doc.

 55] is DENIED.

       IT IS FURTHER ORDERED that the RULE 59 MOTION TO ALTER OR AMEND

 JUDGMENT filed in USCCB, et al v. EEOC, et al, 2:24-cv-00691-DCJ-TPL [Doc. 62] is

 DENIED.

       THUS, DONE AND SIGNED in Chambers on this 13th day of August 2024.




                                         DAVID C. JOSEPH
                                         UNITED STATES DISTRICT JUDGE




                                    Page 6 of 6
